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     SO. CAL. EQUAL ACCESS GROUP
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 5
 6   Attorneys for Plaintiff
     MIGUEL HERNANDEZ
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   MIGUEL HERNANDEZ,                              Case No.: 2:21-cv-02290 FMO (Ex)
12                Plaintiff,
                                                    NOTICE OF VOLUNTARY
13         vs.                                      DISMISSAL OF DEFENDANT
                                                    METROPOLITAN LIFE INSURANCE
14                                                  COMPANY
     METROPOLITAN LIFE INSURANCE
15   COMPANY; J.P. MORGAN CHASE
16   NATIONAL CORPORATE SERVICES,
     INC.; and DOES 1 to 10,
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                  Defendants.
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19
20         PLEASE TAKE NOTICE that Plaintiff MIGUEL HERNANDEZ (“Plaintiff”)
21   pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
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     Defendant METROPOLITAN LIFE INSURANCE COMPANY (“Defendant”) without
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     prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which provides in
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     relevant part:
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                      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
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 1         (a) Voluntary Dismissal.
 2               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
 3                      and any applicable federal statute, the plaintiff may dismiss an action
 4                      without a court order by filing:
 5                      (i)   A notice of dismissal before the opposing party serves either an
 6
                              answer or a motion for summary judgment.
 7
     Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 8
     judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
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11
12   DATED: June 14, 2021 SO. CAL. EQUAL ACCESS GROUP
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                                     By:      /s/ Jason J. Kim
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                                           Jason J. Kim
16                                         Attorneys for Plaintiff
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                       NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
